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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


CONRAD SMITH, et al.,

                      Plaintiffs,
       v.
                                                    Case No. 21-cv-2265-APM
DONALD J. TRUMP, et al.,

                       Defendants.


DISTRICT OF COLUMBIA,

                      Plaintiff,
       v.
                                                    Case No. 21-cv-3267-APM
PROUD BOYS INTERNATIONAL, L.L.C.,
et al.,

                       Defendants.


 DECLARATION OF EDWARD G. CASPAR IN SUPPORT OF SMITH PLAINTIFFS’
 MOTION FOR PARTIAL SUMMARY JUDGMENT AND PLAINTIFF DISTRICT OF
       COLUMBIA’S MOTION FOR PARTIAL SUMMARY JUDGMENT

I, Edward G. Caspar, declare as follows:

       1.      I am a member in good standing of the D.C. Bar and the U.S. District Court for the

District of Columbia, Acting Co-Chief Counsel at the Lawyers’ Committee for Civil Rights Under

Law, and counsel for Plaintiffs Conrad Smith, Danny McElroy, Byron Evans, Governor Latson,

Melissa Marshall, Michael Fortune, Jason DeRoche, and Reginald Cleveland (“Smith Plaintiffs”).

I make this declaration in support of the Smith Plaintiffs’ Motion for Partial Summary Judgment

and the District of Columbia’s Motion for Partial Summary Judgment. I make this declaration

based on my personal knowledge. All of the exhibits identified below were obtained by legal staff

in my office and prepared for inclusion herewith at my direction.


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        2.      Attached as Exhibit 1 is a true and correct copy of the Superseding Indictment, ECF

No. 167, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on June 22,

2022.

        3.      Attached as Exhibit 2 is a true and correct copy of the Jury Instructions as to

Defendants Elmer Stewart Rhodes, III, Kelly Meggs (“K. Meggs”), Kenneth Harrelson, Jessica

Watkins, and Thomas Caldwell, ECF No. 400, filed in United States v. Rhodes, III, et al., No.

1:22-CR-00015 (D.D.C.) on November 21, 2022.1

        4.      Attached as Exhibit 3 is a true and correct copy of the Verdict Form as to

Defendants Rhodes, K. Meggs, Harrelson, Watkins, and Caldwell, ECF No. 410, filed in United

States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on November 29, 2022.

        5.      Attached as Exhibit 4 is a true and correct copy of the Judgment as to Defendant

Harrelson, ECF No. 617, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.)

on June 5, 2023.

        6.      Attached as Exhibit 5 is a true and correct copy of the Judgment as to Defendant K.

Meggs, ECF No. 626, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on

June 5, 2023.

        7.      Attached as Exhibit 6 is a true and correct copy of the Judgment as to Defendant

Watkins, ECF No. 620, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.)

on June 5, 2023.




1
 The Court issued a Supplemental Jury Instruction in United States v. Rhodes, III, et al., No. 1:22-
CR-00015 (D.D.C.). It concerned summary exhibits and is not relevant here. See Supplemental
Jury Instruction, United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C. Nov. 30, 2022),
ECF No. 412.
                                                 2
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        8.    Attached as Exhibit 7 is a true and correct copy of an excerpt (pp. 1-7) from the

transcript of the May 25, 2023 sentencing proceedings as to Defendant K. Meggs in United States

v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.), filed as ECF No. 818 on February 27, 2024.

        9.    Attached as Exhibit 8 is a true and correct copy of the Third Superseding

Indictment, ECF No. 380, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on June 6,

2022.

        10.   Attached as Exhibit 9 is a true and correct copy of an excerpt (pp. 19319-19321,

19374-19378, 19392, 19405-19409) from the public version of the transcript of the April 20, 2023

(Trial Day 68) afternoon session of the jury trial in United States v. Nordean, 1:21-CR-00175

(D.D.C.).

        11.   Attached as Exhibit 10 is a true and correct copy of the Final Jury Instructions, ECF

No. 767, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on April 26, 2023.

        12.   Attached as Exhibit 11 is a true and correct copy of the Verdict Form, ECF No.

804, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on May 4, 2023.

        13.   Attached as Exhibit 12 is a true and correct copy of the Judgment as to Defendant

Ethan Nordean, ECF No. 912, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on

September 15, 2023.

        14.   Attached as Exhibit 13 is a true and correct copy of the Judgment as to Defendant

Joseph R. Biggs, ECF No. 902, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on

September 15, 2023.

        15.   Attached as Exhibit 14 is a true and correct copy of the Judgment as to Defendant

Zachary Rehl, ECF No. 905, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on

September 15, 2023.



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       16.      Attached as Exhibit 15 is a true and correct copy of the Judgment as to Defendant

Enrique Tarrio, ECF No. 908, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on

September 15, 2023.

       17.      Attached as Exhibit 16 is a true and correct copy of the Judgment as to Defendant

Dominic J. Pezzola, ECF No. 915, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on

September 15, 2023.

       18.      Attached as Exhibit 17 is a true and correct copy of the Jury Instructions as to

Defendants Roberto Minuta, Joseph Hackett, David Moerschel, and Edward Vallejo, ECF No.

457, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on January 24, 2023.

       19.      Attached as Exhibit 18 is a true and correct copy of the Verdict Form as to

Defendants Minuta, Hackett, Moerschel, and Vallejo, ECF No. 450, filed in United States v.

Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on January 23, 2023.

       20.      Attached as Exhibit 19 is a true and correct copy of the Judgment as to Defendant

Minuta, ECF No. 631, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on

June 8, 2023.

       21.      Attached as Exhibit 20 is a true and correct copy of the Judgment as to Defendant

Moerschel, ECF No. 641, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.)

on June 8, 2023.

       22.      Attached as Exhibit 21 is a true and correct copy of the Judgment as to Defendant

Vallejo, ECF No. 650, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on

June 8, 2023.




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       23.       Attached as Exhibit 22 is a true and correct copy of the Eighth Superseding

Indictment, ECF No. 684, filed in United States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.) on

June 22, 2022.

       24.       Attached as Exhibit 23 is a true and correct copy of the Jury Instructions as to

Defendants Sandra Parker (“S. Parker”), Bennie Parker (“B. Parker”), Laura Steele, Connie Meggs

(“C. Meggs”), William Isaacs, and Michael Greene, ECF No. 916, filed in United States v. Crowl,

et al., No. 1:21-CR-00028 (D.D.C.) on April 3, 2023.

       25.       Attached as Exhibit 24 is a true and correct copy of the Verdict Form as to

Defendants S. Parker, B. Parker, Steele, Meggs, Isaacs, and Michael Greene, ECF No. 910, filed

in United States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.) on March 21, 2023.

       26.       Attached as Exhibit 25 is a true and correct copy of the Judgment as to Defendant

C. Meggs, ECF No. 1056, filed in United States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.) on

September 3, 2023.

       27.       Attached as Exhibit 26 is a true and correct copy of the Judgment as to Defendant

S. Parker, ECF No. 1062, filed in United States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.) on

September 21, 2023.

       28.       Attached as Exhibit 27 is a true and correct copy of the Judgment as to Defendant

Steele, ECF No. 1067, filed in United States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.) on

October 2, 2023.

       29.       Attached as Exhibit 28 is a true and correct copy of the First Superseding

Indictment, ECF No. 34, filed in United States v. Pezzola, et al., No. 1:21-CR-00052 (D.D.C.) on

April 16, 2021.




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       30.     Attached as Exhibit 29 is a true and correct copy of the Plea Agreement as to

Defendant Matthew Greene, ECF No. 104, filed in United States v. Pezzola, et al., No. 1:21-CR-

00052 (D.D.C.) on December 22, 2021.

       31.     Attached as Exhibit 30 is a true and correct copy of the Statement of Offense as to

Defendant Matthew Greene, ECF No. 105, filed in United States v. Pezzola, et al., No. 1:21-CR-

00052 (D.D.C.) on December 22, 2021.

       32.     Attached as Exhibit 31 is a true and correct copy of the Judgment as to Defendant

Rhodes, ECF No. 624, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.)

on June 5, 2023.

       33.     Attached as Exhibit 32 is a true and correct copy of an excerpt (pp. 5897-5902,

5995-6006) from the transcript of the November 1, 2022 (Trial Day 21) morning session of the

jury trial as to Defendants Rhodes, K. Meggs, Harrelson, Watkins, and Caldwell in United States

v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.), filed as ECF No. 744 on January 3, 2024.

       34.     Attached as Exhibit 33 is a true and correct copy of an excerpt (pp. 1-2, 20) from

the transcript of the May 25, 2023 sentencing proceedings as to Defendant Rhodes in United States

v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.), filed as ECF No. 817 on February 27, 2024.

       35.     Attached as Exhibit 34 is a true and correct copy of the Indictment, ECF No. 1,

filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015 (D.D.C.) on January 12, 2022.

       36.     Attached as Exhibit 35 is a true and correct copy of the Plea Agreement as to

Defendant Brian Ulrich, ECF No. 116, filed in United States v. Rhodes, III, et al., No. 1:22-CR-

00015 (D.D.C.) on April 29, 2022.




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       37.       Attached as Exhibit 36 is a true and correct copy of the Statement of Offense as to

Defendant Ulrich, ECF No. 117, filed in United States v. Rhodes, III, et al., No. 1:22-CR-00015

(D.D.C.) on April 29, 2022.

       38.       Attached as Exhibit 37 is a true and correct copy of the Judgment as to Defendant

B. Parker, ECF No. 1059, filed in United States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.) on

September 21, 2023.

       39.       Attached as Exhibit 38 is a true and correct copy of an excerpt (pp. 1-6) from the

transcript of the September 1, 2023 sentencing proceedings as to Defendant B. Parker in United

States v. Crowl, et al., No. 1:21-CR-00028 (D.D.C.), filed as ECF No. 1174 on February 29, 2024.

       40.       Attached as Exhibit 39 is a true and correct copy of the Second Superseding

Indictment, ECF No. 305, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on March

7, 2022.

       41.       Attached as Exhibit 40 is a true and correct copy of the Plea Agreement as to

Defendant Charles Donohoe, ECF No. 335, filed in United States v. Nordean, 1:21-CR-00175

(D.D.C.) on April 8, 2022.

       42.       Attached as Exhibit 41 is a true and correct copy of the Statement of Offense as to

Defendant Donohoe, ECF No. 336, filed in United States v. Nordean, 1:21-CR-00175 (D.D.C.) on

April 8, 2022.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Executed on July 19, 2024                             ______________________________
                                                      Edward G. Caspar




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